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          Of Attorneys for Defendant Cyrus Andrew Sullivan




                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

    UNITED STATES OF AMERICA,
                                                         Case No. 3:13-CR-00064-HZ
                                      Plaintiff,
                                                         DEFENDANT’S MOTION TO
          v.                                             REVOKE DETENTION ORDER

    CYRUS ANDREW SULLIVAN

                               Defendant.
    ___________________________________


          Defendant, Cyrus Andrew Sullivan, through his attorney Per C. Olson, hereby moves

    to revoke the order of detention entered in this matter by Magistrate Judge Paul Papak on

    March 11, 2013 (Document No. 26). 18 U.S.C. § 3145(b).

          After consulting with court staff and Assistant U.S. Attorney Sean Hoar, defendant

    requests a one-half hour hearing on April 22, 2013, at 2:30 p.m.

                 DATED this 15th day of March, 2013.

                                              HOEVET, BOISE & OLSON, P.C.



                                              /s Per C. Olson
                                              Per C. Olson, OSB #933863
                                              Of Attorneys for Defendant




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